Case 0:24-cv-60635-DSL Document 17-1 Entered on FLSD Docket 07/12/2024 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:24-cv-60635-DSL/PAB

   MIKYLA ARMSTRONG,

                  Plaintiff,
   vs.

   FLORIDA MEMORIAL UNIVERSITY, INC.,

               Defendant.
   ______________________________________/

                               JOINT PROPOSED SCHEDULING ORDER

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning

   ____________, 2025, at 9:00 a.m. If the case cannot be tried during the two-week period, it will

   be re-set for each successive trial calendar until tried or resolved. The Calendar Call will be held

   at _____ a.m./p.m. on _______________, 2025. Unless instructed otherwise by subsequent order,

   the trial and all other proceedings in this case shall be conducted in Courtroom 202A at the U.S.

   Federal Building and Courthouse, 299 East Broward Boulevard, Fort Lauderdale, Florida 33301.

   Pursuant to Local Rule 16.1(a), this case is assigned to a Standard Track. The Parties shall adhere

   to the following schedule:


    DEADLINE OR EVENT                                   PROPOSED DATE
    Joinder of any additional parties and filing of     September 6, 2024
    motion to amend the pleadings by
    Selection of a mediator pursuant to Local Rule      August 13, 2024
    16.2 and scheduling time, date, and place for
    mediation by
    Plaintiff’s disclosure of experts, expert witness   September 20, 2024
    summaries, and reports as required by Fed. R.
    Civ. P. 26(a)(2) by
    Defendant’s disclosure of experts, expert           October 25, 2024
    witness summaries, and reports as required by
    Fed. R. Civ. P. 26(a)(2) by
Case 0:24-cv-60635-DSL Document 17-1 Entered on FLSD Docket 07/12/2024 Page 2 of 2




    Plaintiff’s disclosure of rebuttal experts, expert       November 15, 2024
    witness summaries and reports as required by
    Fed. R. Civ. P. 26(a)(2) by
    Discovery Deadline (all discovery, including             January 6, 2025
    expert discovery) to be completed by
    Written lists containing the names and                   November 18, 2024
    addresses of all fact witnesses intended to be
    called at trial by
    Mediation shall be completed by                          January 10, 2025
    [no more than one month after the close of
    discovery]
    Dispositive motions, including summary                   March 31, 2025
    judgment and Daubert, shall be filed by
    [at least four months before the date for filing
    the Pretrial Stipulation]
    Deposition       designations     and     counter        April 11, 2025
    designations shall be filed by
    [at least two months before Trial date]
    All pretrial motions and memoranda of law,               April 25, 2025
    including motions in limine, shall be filed by
    [at least one month before Trial date]
    Joint pretrial stipulation, deposition                   May 12, 2025
    designations and counter-designations,
    proposed joint jury instructions, proposed
    joint verdict form, and/or proposed findings
    of fact and conclusions of law shall be filed
    by [at least one month before Trial date]
    Pretrial Conference                                      [DATE]

   DONE AND ORDERED in Fort Lauderdale, Florida, this [day] day of [month], 2024.



                                                                 ________________________________
                                                                  DAVID S. LEIBOWITZ
                                                                  UNITED STATES DISTRICT JUDGE




                                                         2
